                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

BLUEWATER MUSIC SERVICES                   )
CORPORATION,                               )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )     Case No. 3:17-cv-01051
                                           )     Judge McCalla/Frensley
SPOTIFY USA INC.,                          )
                                           )
       Defendant.                          )


ROBERT GAUDIO, et al.,                     )
                                           )
       Plaintiffs,                         )
                                           )
v.                                         )     Case No. 3:17-cv-01052
                                           )     Judge McCalla/Frensley
SPOTIFY USA INC.,                          )
                                           )
       Defendant.                          )


A4V DIGITAL, INC., et al.,                 )
                                           )
       Plaintiffs,                         )
                                           )
v.                                         )     Case No. 3:17-cv-01256
                                           )     Judge McCalla/Frensley
SPOTIFY USA INC.,                          )
                                           )
    Defendant.                             )
ROBERTSON, et al.,                         )
                                           )
       Plaintiffs,                         )
                                           )
v.                                         )     Case No. 3:17-cv-01616
                                           )     Judge McCalla/Frensley
SPOTIFY USA INC.,                          )
                                           )
       Defendant.                          )




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                                            ORDER

       Non-party The Harry Fox Agency LLC (“HFA”) has filed a Motion “For Permission to

Intervene for the Limited Purpose of Opposing Plaintiffs’ Request to Disclose Proprietary

Information and to Join Defendant Spotify’s Motion for Protective Order.” Docket No. 132.

HFA has also filed a Supporting Memorandum of Law and a Supplemental Supporting

Memorandum of Law. Docket Nos. 133, 141. HFA’s Motion is related to the Motion for

Protective Order that has been filed by Defendant Spotify USA Inc. (“Spotify”). Docket No.

127. Plaintiffs have requested that the Court take immediate action regarding the Motion for

Protective Order, characterizing the situation as an emergency. Docket No. 130. Given the

quick approach of the discovery deadline, as well as other deadlines in this matter that depend on

the conclusion of discovery, the Court has agreed that the issue of Spotify’s requested protective

order should be settled quickly. See Docket No. 136. HFA’s Motion for Permission to Intervene

must be resolved before the Court can address Spotify’s Motion for Protective Order. Therefore,

if any Party would like to file a response to HFA’s Motion (Docket No. 132), the Court orders

that any such response must be filed on or before Monday, November 26, 2018.




                                             IT IS SO ORDERED.


                                             ___________________________________
                                             Jeffery S. Frensley
                                             United States Magistrate Judge




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